                  Case 2:14-cv-01125-RFB-BNW Document 245 Filed 07/09/20 Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Jeremy Bauman, et al.,
                                                      JUDGMENT IN A CIVIL CASE FOR ATTORNEY'S FEES
                                Plaintiffs,
             v.                                       Case Number: 2:14-cv-01125-RFB-BNW

Saxe Management LLC, et al.,

                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that attorneys fees are awarded in favor of Plaintiffs in the amount of $668,320.10.




          6/23/2020
          6/26/2020
          6/24/2020
          7/2/2020
          7/6/2020
          6/30/2020
          7/1/2020
           7/9/2020
          7/8/2020
          6/19/2020
         6/18/2020
         ____________________                                  DEBRA K. KEMPI
         Date                                                 Clerk



                                                               /s/ M. Reyes
                                                              Deputy Clerk
